         Case 23-10831-MFW             Doc 1011        Filed 02/26/24          Page 1 of 13


                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


      In re                                                  Chapter 11

      Lordstown Motors Corp., et al.,1                       Case No. 23-10831 (MFW)


                                           Debtors.          (Jointly Administered)
                                                             Obj. Deadline: March 18, 2024 at 4:00 p.m. (ET)


                FIFTH MONTHLY APPLICATION OF KPMG LLP
          PROVIDING AUDIT SERVICES TO THE DEBTORS REQUESTING
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
        AND REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
                 JANUARY 1, 2024 THROUGH JANUARY 31, 2024

Name of Applicant:                                       KPMG LLP

Authorized to Provide Professional
Services to:                                             Debtors and Debtors in Possession

Date of Retention:                                       August 15, 2023 Effective as of
                                                         June 27, 2023

Period for which compensation and
reimbursement is sought:                                 January 1, 2024 through January 31, 2024

Amount of Compensation sought as
actual, reasonable, and necessary:                       $       141,845.80

Amount of Expense Reimbursement
sought as actual, reasonable, and                        $              0.00
necessary:

This is a:       X      Monthly                Interim             Final Application

The total time expended for fee application preparation is approximately 9.4 hours and the
corresponding compensation requested is approximately $2,070.80.




  The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
  1

  Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The
  Debtors’ service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
                Case 23-10831-MFW               Doc 1011         Filed 02/26/24            Page 2 of 13



       Prior Monthly Applications Filed: Four

                                                       Requested                               Approved by Court to Date
     Date Filed / Docket No.            Period Covered       Fees             Expenses          Fees          Expenses
      9/20/23 / Docket # 457
                                       6/27/23 to 8/31/23      $72,831.00          $0.00      $72,831.00           $0.00
     (1st combined monthly)
     10/23/23 / Docket # 604
                                        9/1/23 to 9/30/23      $3,433.40           $0.00       $3,433.40           $0.00
          (2nd monthly)
     12/20/23 / Docket # 849                                                                  $53,029.60
                                       10/1/23 to 11/30/23     $66,278.00          $0.00                           $0.00
     (3rd combined monthly)                                                                  (80% of fees)
      1/22/24 / Docket # 929                                                                  $17,222.56
                                       12/1/23 to 12/31/23     $21,528.20          $0.00                           $0.00
           (4th monthly)                                                                     (80% of fees)



       Prior Interim Applications Filed: Two


                                              KPMG Prior Applications

                                                                              Requested                       Approved
                             Interim
 Date Filed / Docket No.                      Period Covered                Fees           Expenses        Fees     Expenses
                              Period
11/14/23 / Docket # 695        1st          6/27/23 – 9/30/23               $76,264.40        $0.00   $76,264.40         $0.00
 2/9/24 / Docket # 961         2nd          10/1/23 – 12/31/23              $87,815.20        $0.00        TBD*          $0.00
*Objection due by 2/29/24.




                                                                2
                           Case 23-10831-MFW             Doc 1011        Filed 02/26/24      Page 3 of 13



                                                        ATTACHMENT B
                                                      TO FEE APPLICATION

                                           COMPENSATION BY PROFESSIONAL

                                                                                            Total
                                                                                            Hours      Hourly Billing      Total
  Professional Person                         Position & Department                         Billed        Rate          Compensation
Alexandra Williams        Senior Manager - Audit-Department of Professional Practice             3.3   $       765      $    2,524.50
Amanda Delaney            Senior Associate - Audit                                            121.6    $       300      $   36,480.00
Bradley Lancy             Managing Director - Advisory                                           0.4   $       500      $      200.00
Bradley Nemeth            Director - Advisory                                                    1.2   $       470      $      564.00
Celeste Campbell          Manager - Bankruptcy                                                   1.1   $       298      $      327.80
Chris Gentle              Partner - Audit                                                        1.5   $       500      $      750.00
Dan Varnish               Senior Associate - Audit                                              23.2   $       300      $    6,960.00
Darcie Garza              Managing Director - Audit - Department of Professional Practice        1.0   $       765      $      765.00
Darrin Schultz            Partner - Audit                                                        1.8   $       500      $      900.00
Grace Mancini             Associate - Audit                                                     33.8   $       250      $    8,450.00
Jennifer Miller           Managing Director - Audit - Department of Professional Practice        0.9   $       765      $      688.50
John Hintz                Associate - Audit                                                      0.4   $       250      $      100.00
Ken Grapperhaus           Partner - Audit - Department of Professional Practice                  1.0   $       765      $      765.00
Mark Schierholt           Managing Director - Audit                                              4.6   $       450      $    2,070.00
Melina Lynn               Associate - Audit                                                   164.6    $       250      $   41,150.00
Memory Liang              Director - Advisory                                                    0.4   $       470      $      188.00
Michael Sarkis            Associate - Audit                                                     59.6   $       250      $   14,900.00
Mila Orobia               Associate - Bankruptcy                                                 8.3   $       210      $    1,743.00
Peter Bradford            Managing Director - Advisory                                           0.3   $       500      $      150.00
 Sara Rufo                Senior Manager - Audit                                                42.0   $       400 1    $   16,800.00
Scott Stelk               Partner - Audit                                                        9.9   $       500      $    4,950.00
Thomas Hickey             Manager - Audit                                                        0.4   $       350      $      140.00
Trey Hallock              Manager - Audit                                                        0.8   $       350      $      280.00

Hours and Fees at Discounted Rates                                                            482.1                     $   141,845.80

Total Discounted Fees                                                                                                   $   141,845.80
Out of Pocket Expenses                                                                                                  $           -
Total Fees & Out of Pocket Expenses                                                                                     $   141,845.80
Less Holdback Adjustment (20%)                                                                                          $   (28,369.16)
Net Requested Fees & Out of Pocket Expenses                                                                             $   113,476.64

Blended Rate                                                                                            $      294.22
 1
   Rate changed due to promotion effective 10/1/23.




                                                                        3
        Case 23-10831-MFW              Doc 1011   Filed 02/26/24           Page 4 of 13



                                      ATTACHMENT B
                                    TO FEE APPLICATION
                                         (continued)

                     COMPENSATION BY PROJECT CATEGORY


                 Project Category                     Total Hours Billed          Total Fees Requested
Audit Services                                                         472.7     $         139,775.00
Retention Services                                                         0.0   $                -
Fee Application Preparation Services                                       9.4   $           2,070.80
                      Total                                            482.1     $          141,845.80



                                    EXPENSE SUMMARY

                       Service Description                      Amount
            Airfare                                   $                              -
            Lodging                                   $                              -
            Meals                                     $                              -
            Ground Transportation                     $                              -
            Miscellaneous                             $                              -
                               Total                  $                          -




                                                  4
            Case 23-10831-MFW               Doc 1011        Filed 02/26/24        Page 5 of 13



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


        In re                                                    Chapter 11

        Lordstown Motors Corp., et al.,                          Case No. 23-10831 (MFW)

                                                                 (Jointly Administered)
                                                Debtors.



                  FIFTH MONTHLY APPLICATION OF KPMG LLP
            PROVIDING AUDIT SERVICES TO THE DEBTORS REQUESTING
            ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
          AND REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
                   JANUARY 1, 2024 THROUGH JANUARY 31, 2024


                KPMG LLP 2, (“KPMG”) as audit service providers to the above-captioned

debtors and debtors-in-possession (collectively, the “Debtors”) files this Fifth Monthly

Application (the “Application”), pursuant to section 330 and 331 of title 11 of the United

States Code (the “Bankruptcy Code”), Rules 2014 and 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2014-1, 2016-1 and 2016-2 (h) of

the Local Rules (the “Local Rules”) of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Court”) and this Court’s Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Chapter 11 Professionals and Committee Members, dated July 25, 2023 (the “Interim

Compensation Order”) [Docket No. 181]. By this Application, KPMG seeks the allowance of

compensation for professional services performed and actual and necessary expenses incurred




2
       Capitalized terms used herein but not otherwise defined shall have those meanings set forth in the
Application.


                                                           5
          Case 23-10831-MFW          Doc 1011      Filed 02/26/24     Page 6 of 13



by KPMG for the period from January 1, 2024 through January 31, 2024 (the “Compensation

Period”), in the amount of $141,845.80 and respectfully represents:

                                        Background

               1.    On June 27, 2023 (the “Petition Date”), the Debtors each commenced

with this Court a voluntary case under chapter 11 of the Bankruptcy Code (collectively, the

“Chapter 11 Cases”). The Chapter 11 Cases are being jointly administered for procedural

purposes only pursuant to Bankruptcy Rule 1015(b). The Debtors continue to operate their

businesses and manage their properties as debtors in possession pursuant to sections 1107(a)

and 1108 of the Bankruptcy Code. On July 11, 2023, the United States Trustee for the

District of Delaware (the “U.S. Trustee”) appointed the official committee of the unsecured

creditors (the “Committee”). No trustee or examiner been appointed in these Chapter 11

Cases.

               2.    On July 27, 2023 the Debtors filed a Debtors’ Application for an Order

(A) Authorizing the Retention and Employment of KPMG LLP to Provide Audit Services to

the Debtors Effective as of the Petition Date and (B) Granting Other Related Relief to the

Debtors and Debtors-in-Possession effective as of June 27, 2023 (the “Retention

Application”) [D.I. 200] and in support of the Retention Application, the Debtors submitted

the Declaration of Scott Stelk (the “Stelk Declaration”).

               3.    By this Court’s Order, dated August 15, 2023 [D.I. 254] (the “Retention

Order”), the Debtors were authorized to retain KPMG to provide audit services effective as of

the Petition Date. The Retention Order authorizes the Debtors to compensate KPMG in

accordance with the procedures set forth in sections 330 and 331 of the Bankruptcy Code, the




                                                  6
          Case 23-10831-MFW           Doc 1011      Filed 02/26/24     Page 7 of 13



Bankruptcy Rules, the Local Rules, and such other procedures as were fixed by order of the

Court.


                                         Jurisdiction

               4.    The Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction to consider this Application under 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference, dated February 29, 2012 (Sleet, C.J.). This is a core proceeding

under 28 U.S.C. § 157(b). Venue of the Chapter 11 Cases and this Application is proper in

this District under 28 U.S.C. §§ 1408 and 1409.


                                  Summary of Application

               5.    During the Compensation Period, KPMG performed the services for

which it is seeking compensation on behalf of or for the Debtors and their estates and not on

behalf of any committee, creditor, or other person. By this Application, KPMG requests

allowance of monthly compensation of professional fees totaling $141,845.80, and payable in

accordance with the Interim Compensation Order at eighty percent (80%) of fees or

$113,476.64 and reimbursement of one hundred percent (100%) of necessary and actual out-

of-pocket expenses in the amount of $0.00.

           Summary of Services Rendered During the Compensation Period

               6.    This Application is KPMG’s Fifth Monthly Application for

compensation and expense reimbursement filed in these Chapter 11 Cases. During the

Compensation Period, KPMG provided significant professional services to the Debtors’ in

their efforts to navigate their business through the chapter 11 process.




                                                   7
          Case 23-10831-MFW          Doc 1011     Filed 02/26/24     Page 8 of 13



              7.    Set forth below is a summary of the professional services that KPMG

rendered to the Debtors during the Compensation Period and annexed hereto as Exhibit A is a

chart depicting KPMG professionals who rendered these services.

     Audit Services

         •   Continued to provide services related to the Audit of consolidated balance sheets
             of Lordstown Motors Corp. as of December 31, 2023 and 2022, the related
             consolidated statements of operations, stockholders’ equity and cash flows for
             each of the years in the three-year period ended December 31, 2023 and the related
             notes to the financial statements and quarterly reviews for the quarters ended
             September 30, 2023.

     Fee Application Preparation

         •   The billing procedures required by the US Trustee Guidelines differ from
             KPMG’s normal billing procedures and as such, the Local Rules and the Interim
             Compensation Order entered in these cases have required significant effort to
             inform the timekeepers of their responsibilities, compile the detailed time and
             expenses entries, begin preparation of the detailed and summary schedules of
             fees and expenses incurred, and begin drafting the schedules included in the
             monthly fee applications.


              8.    During the Compensation Period, KPMG billed the Debtors for time

expended by professionals based on hourly rates ranging from $210 to $765 per hour. The

rates reflected in this Application represent a reduction of up to 57% from KPMG’s standard

rates. Of the aggregate time expended, 14.2 hours were expended by partners, 7.2 hours were

expended by managing directors, 1.6 hours were expended by directors, 45.3 hours were

expended by senior managers, 2.3 hours were expended by managers, and 411.5 hours were

expended by senior associates and associates. KPMG’s blended hourly rate for services

provided during the Compensation Period is $294.22.

              9.    In addition to Attachment B, a summary of the hours and fees incurred

by professional, and category is annexed hereto as Exhibit A and Exhibit B, respectively, and



                                                 8
          Case 23-10831-MFW           Doc 1011     Filed 02/26/24     Page 9 of 13



described in detail in the time records annexed hereto as Exhibits C1 – C3. KPMG maintains

contemporaneous records of the time expended for the professional services and expenses

related hereto performed in connection with these Chapter 11 Cases and such records are

maintained in the ordinary course of business.

               10. KPMG charges its fees in these cases in accordance with the terms set

forth in the Retention Application and the corresponding Stelk Declaration. The fees applied

for herein are based on the usual and customary fees KPMG charges to its clients and are

commensurate with the usual and customary rates charged for services performed.

               11. KPMG respectfully submits that the amounts applied for herein for

professional services rendered on behalf of the Debtors in these cases to date are fair and

reasonable given: (a) the time expended; (b) the nature and extent of the services performed at

the time at which such services were rendered; (c) the value of such services; and (d) the costs

of comparable services other than in these Chapter 11 Cases.

               12. The time and labor expended by KPMG during the Compensation Period

has been commensurate with the size and complexity of these cases. In rendering these

services, KPMG has made every effort to maximize the benefit to the Debtors’ estates, to

work efficiently with the other professionals employed in these cases, and to leverage staff

appropriately in order to minimize duplication of effort.

               13. During the Compensation Period, KPMG provided a focused range of

professional services as requested by the Debtors. KPMG respectfully submits that these

services: (a) were necessary and beneficial to the successful and prompt administration of

these cases; and (b) have been provided in a cost-efficient manner.




                                                  9
          Case 23-10831-MFW          Doc 1011      Filed 02/26/24     Page 10 of 13



               14. Except as set forth in the Retention Order, no promises concerning

compensation have been made to KPMG by any firm, person, or entity.

     Summary of Actual and Necessary Expenses During the Compensation Period

               15. As set forth on Exhibit D, KPMG is not seeking reimbursement of actual

and necessary expenses incurred by KPMG during the Compensation Period cases.

                                        Reservation

               To the extent that time for services rendered or disbursements incurred relate

to the Compensation Period but were not processed prior to the preparation of this

Application, KPMG reserves the right to request additional compensation for such services

and reimbursement of such expenses in a future application. Furthermore, KPMG reserves

the right to seek final approval of the fees and expenses requested herein.




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                                                 10
         Case 23-10831-MFW          Doc 1011      Filed 02/26/24     Page 11 of 13



                                        Conclusion

             WHEREFORE, KPMG respectfully requests that, pursuant to the Interim

Compensation Order, KPMG is (i) allowed monthly compensation of professional fees

totaling $141,845.80 and payable in accordance with the Interim Compensation Order at

eighty percent (80%) of requested fees or $113,476.64; (ii) allowed reimbursement of

expenses billed during the Compensation Period of $0.00; (iii) authorized to be paid its

allowed fees and expenses for the Compensation Period; and (iv) granted such other and

further relief as the Court may deem proper.


Dated: February 26, 2024


                                                   Respectfully submitted,


                                                   /s/ Scott Stelk
                                                   Scott Stelk
                                                   KPMG LLP
                                                   345 Park Avenue
                                                   New York, NY 10154-0102




                                                 11
                 Case 23-10831-MFW               Doc 1011        Filed 02/26/24        Page 12 of 13


                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re                                                    Chapter 11

     Lordstown Motors Corp., et al., 1                        Case No. 23-10831 (MFW)

                                                              (Jointly Administered)
                                            Debtors.




                 DECLARATION PURSUANT TO RULE 2016-2 OF THE
               LOCAL RULES OF BANKRUPTCY PROCEDURE FOR THE
       UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE


               I, Scott Stelk, being duly sworn, deposes and says:


                    1. I am a Certified Public Accountant and a Partner of KPMG LLP (“KPMG”), a

    professional services firm.

                    2. By Order dated August 15, 2023, KPMG was retained to perform Audit Services

    for the above captioned debtors and debtors in possession (the “Debtors”). I submit this Declaration

    in conjunction with KPMG’s application, dated February 26, 2024 (the “Application”) for KPMG’s

    fifth monthly fee application for compensation and allowance of expenses for the period January 1,

    2024 through January 31, 2024.

                    3. I have personally performed some of the services rendered by KPMG to the

    Debtors and am thoroughly familiar with the work performed on behalf of the Debtors by the

    professionals of KPMG.




1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
       (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
       27000 Hills Tech Ct., Farmington Hills, MI 48331.
            Case 23-10831-MFW          Doc 1011       Filed 02/26/24    Page 13 of 13


              4. I have reviewed the foregoing Application and the facts set forth therein are true

and correct to the best of my knowledge, information, and belief. Moreover, I have reviewed Rule

2016-2 of the Local Rules of Bankruptcy Procedure for the United States Bankruptcy Court for the

District of Delaware and submit that the Application substantially complies with such Rule.

                  I declare under the penalty of perjury that the foregoing is true and correct.


Executed this 26th day of February, 2024.


                                                        /s/ Scott Stelk
                                                        Scott Stelk
                                                        KPMG LLP
                                                        345 Park Avenue
                                                        New York, NY 10154-0102




                                                -2-
